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  6

  7
                            UNITED STATES DISTRICT COURT
  8
                           CENTRAL DISTRICT OF CALIFORNIA

  9
       UNITED AFRICAN-ASIAN                    Case No:
 10    ABILITIES CLUB, ON BEHALF
 11
       OF ITSELF AND ITS                       COMPLAINT
       MEMBERS; JAMES LEE, An
 12    Individual                              DISCRIMINATORY
 13                                            PRACTICES
                           Plaintiffs,         [US Fair Housing Act of 1988 [42
 14
                                               U.S.C. §§ 3600 et seq, §3604(c),
 15          v.                                §3604(f)(1-3), et seq.; CA
                                               Government Code 12925, 12927,
 16
       RAY MAR ENTERPRISES, A                  12955; CA Civil Code §§ 51, 52,
 17    CALIFORNIA LIMITED                      54.3
 18
       PARTNERSHIP; AND DOES 1
       THROUGH 10, Inclusive                   DEMAND FOR JURY TRIAL
 19

 20                        Defendants.
 21                                      INTRODUCTION
 22   1.    Plaintiffs make the following allegations in this civil rights action:
 23                              JURISDICTION AND VENUE
 24   2.      The federal jurisdiction of this action is based on the 42 U.S.C. §§ 3601,
 25   3604 et. seq. - the U.S. Fair Housing Act Amendments of 1988 (Defendants’
 26   apartment property consist of four (4) or more residential units), and 42 U.S.C. §
 27   12101 et. seq., the federal Americans With Disabilities Act. Venue is proper in this
 28

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  1
      United States District Court for the Central District of California pursuant to 28
  2
      U.S.C. § 1391(b), because a substantial part of Plaintiffs’ claims arose within said
  3
      Judicial District.
  4
                               SUPPLEMENTAL JURISDICTION
  5
      3.      This United States District Court for the Central District of California has
  6
      supplemental jurisdiction over the California state claims as alleged in this
  7
      Complaint pursuant to 28 U.S.C. § 1367(a).
  8
                    NAMED DEFENDANTS AND NAMED PLAINTIFFS
  9
      4.    The term Plaintiffs as used herein specifically include the corporate Plaintiff
 10
      entity known as the United African-Asian Abilities Club, On Behalf Of Itself And Its
 11
      Members (hereinafter referred to as “Club” or “UAAAC”); and the individual
 12
      Plaintiff JAMES LEE (hereinafter referred to as “LEE” or the “named Individual
 13
      Plaintiff”. The Plaintiff Club and Plaintiff LEE are sometimes collectively referred
 14
      to as the “named Plaintiffs” or “Plaintiffs”.
 15
      5.    Plaintiff United African-Asian Abilities Club (UAAAC) is registered and in
 16
      good standing as a Nevada corporation. The named individual Plaintiff LEE is a
 17
      member of the Plaintiff Club organization.
 18
      6. Plaintiffs are informed, believe, and thereon allege that named Defendant RAY
 19
      MAR ENTERPRISES, A CALIFORNIA LIMITED PARTNERSHIP is the operator
 20
      of the apartment rental business known as Las Mariposas Apartments located at
 21

 22
      7840-60 Valley View Street Buena Park, CA 90620. Plaintiffs are informed,

 23
      believe, and thereon allege that Defendant RAY MAR ENTERPRISES, A

 24
      CALIFORNIA LIMITED PARTNERSHIP is the owner, operator, and/or lessor of

 25
      the real property located at 7840-60 Valley View Street Buena Park, CA 90620

 26
      (hereinafter referred to as the “Property”).

 27
      7.     Defendant RAY MAR ENTERPRISES, A CALIFORNIA LIMITED

 28

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  1
      PARTNERSHIP is, and at all times mentioned herein were, a business or corporation
  2
      or franchise, organized and existing and/or doing business under the laws of the State
  3
      of California. Defendants Does 1 through 10, were at all times relevant herein
  4
      subsidiaries, employers, employees, and/or agents of the named Defendants.
  5
                                   CONCISE SET OF FACTS
  6
      8.    The named Individual Plaintiff Lee has hip and knee conditions, uses a device
  7
      for mobility, is unable to walk any distance, and also has a vision disability. Plaintiff
  8
      Lee is also a member of the Plaintiff Club. The individual Plaintiff Lee had specific
  9
      dates wherein he intended to go the Defendant’s Property to access Defendants’
 10
      rental services. Plaintiff Lee has actual knowledge of the overt and obvious physical
 11
      and communication barriers at Defendants’ Property. Plaintiff Lee determined that
 12
      the open and obvious physical barriers that exist at Defendants’ Property directly
 13
      related to his disabilities, and that it would be impossible or extremely difficult for
 14
      him to physically access Defendants’ on-site rental services. See ¶¶ 25. Plaintiff
 15
      Lee had knowledge of access barriers at the Property and determined that it would be
 16
      futile gesture for him to go to the Property on the date that he had intended. The
 17
      named Individual Plaintiff Lee was deterred by his actual knowledge of the physical
 18
      and communication barriers that exist at Defendants’ Property and also Defendants’
 19
      website communication barriers. As used herein, website means any internet website
 20
      where Defendants control the content. Exhibit B states the websites controlled by
 21

 22
      Defendants. Plaintiff Lee also attempted to access Defendants’ rental services on

 23
      Defendants websites but experienced great difficulty due to Defendants’ failure to

 24
      provide accessible website features.

 25
      9. The named Individual Plaintiff Lee attempted to use Defendants’ website to

 26
      access Defendants’ online rental services, but had great difficulty due to his

 27
      disabilities. The named Individual Plaintiff Lee also could not determine from

 28

                       3
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  1
      Defendants’ website content whether Defendants’ rental services at the property or
  2
      off the property, and common areas at the property were physically accessible to
  3
      him. The named Individual Plaintiff Lee requested that Plaintiff Club assist him to
  4
      obtain information regarding the physical accessibility of Defendants’ on-site office
  5
      where Defendants’ offer its rental services. In response to the named Individual
  6
      Plaintiff’s request, Plaintiff Club sent one of its members to Defendants’ physical on-
  7
      site office. The named Individual Plaintiff personally reviewed all the information
  8
      and photographs of Defendants’ property. As a result, the named Individual Plaintiff
  9
      has actual knowledge of the overt and obvious physical and communication barriers
 10
      at Defendants’ Property. The named Individual Plaintiff determined that the open
 11
      and obvious physical barriers that exist at Defendants’ Property directly related to his
 12
      disabilities, and that it would be impossible or extremely difficult for him to
 13
      physically access Defendants’ on-site rental services. See ¶¶ 25. The named
 14
      Individual Plaintiff Lee had actual knowledge and determined that it would be futile
 15
      gesture for him to go to the Property on the date that he had intended. The named
 16
      Individual Plaintiff was deterred by his actual knowledge of the physical and
 17

 18
      communication barriers that exist at Defendants’ Property and website. The named

 19
      Individual Plaintiff made a written request to Defendants’ for an accommodation to

 20
      have equal access to Defendants’ rental services and to eliminate the communication

 21
      and physical barriers to Defendants’ rental services, both online and at the property.

 22
      At the end of this action, the named Individual Plaintiff Lee intends to return to

 23
      Defendants’ website and physical office on or off the property location to obtain

 24
      rental information and verify that the communication and physical barriers to
 25   Defendants’ rental services are removed.
 26
      10.   The named Plaintiff Club is an organization that advocates on the behalf of its

 27
      members with disabilities when their civil rights and liberties have been violated.

 28

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  1
      Plaintiff Club and Plaintiff Lee investigated Defendants’ websites and apartment
  2
      Property in November, 2022, and in December, 2022. The named Plaintiffs
  3
      investigated Defendants apartment property and Defendants websites. Plaintiff Club
  4
      member Sharon Riguer investigated the Property on the Internet websites.
  5
      Additional Plaintiff Club members investigated Defendants websites and found that
  6
      they did not provide equal access. The results of the research from Club Member
  7
      Sharon Riguer are contained in the Exhibit B to this Complaint. Club members
  8
      ascertained that Defendants’ rental services at Defendants Property were not
  9
      physically accessible to Plaintiff Lee by a Club member with a disability who went
 10
      to Defendants’ apartment Property, and said Club member attempted to access
 11
      Defendants’ on-site rental services.
 12
      11.   Plaintiff Club diverted its time and resources from its normal purposes
 13
      because of Defendants’ service, policy, program and physical barriers to Defendants
 14
      rental services at Defendants’ websites and Property. Club personnel conducted
 15
      detailed Internet searches to determine if Defendants provide large print, deaf
 16
      interpreter, therapy animal, the required reasonable accommodation policy, and
 17
      required reasonable modification policy. Further, the Club retained contractors to
 18
      investigate said policies, to survey the property, to photograph the property, to
 19
      investigate when the Property was constructed, to investigate the Property ownership
 20
      and to have an access report prepared. Plaintiff Club also diverted staff to
 21

 22
      investigate Defendants' Internet presence to determine compliance with the FHA and

 23
      ADA. Plaintiff Club also investigated Defendants' written rental materials such as

 24
      brochures, rental applications and leases. Moreover, Plaintiff Club made an oral

 25
      investigation to ascertain Defendants' companion animal, deaf interpreter and

 26
      reasonable accommodation and reasonable modification policies. Plaintiff Club also

 27
      caused a physical access consultant to be retained to survey Defendants' facility.

 28

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  1
      Plaintiff Club’s findings regarding Defendants’ rental services and facilities were
  2
      incorporated into an Access Report. The Access Report also details the known overt
  3
      and obvious physical access violations at the Property, but it is not intended as an
  4
      exhaustive list of existing violations. Due to these necessary activities to investigate,
  5
      Plaintiff Club’s time and resources were diverted from its normal activity. Plaintiff
  6
      Club suffered injury and also suffered monetary damages due to the diversion of the
  7
      Club’s resources from its normal purposes.
  8
      12.   Plaintiffs allege that Defendants control, operate, and maintain web pages at
  9
      different apartment websites where Defendants offer its rental services.
 10
      Additionally, Defendants have a physical office location at the Property where they
 11
      also offer their rental services.
 12
      13.   Plaintiffs allege that Defendants’ websites have a close nexus to Defendants’
 13
      physical site rental services because the websites refer to Defendants’ rental services
 14
      that are offered at Defendants’ actual physical office on or off the site. Therefore,
 15
      Plaintiffs allege that the websites are also places of public accommodation.
 16
      Defendants control the websites to the extent that Defendants can change the website
 17
      content to make modifications to comply with the FHA and ADA. Therefore,
 18
      Plaintiffs allege that Defendants can modify the content of Defendants’ websites to
 19
      improve access for Plaintiffs and people with disabilities.
 20
      14.   In this case, the named Plaintiffs allege that the Defendants failed to provide a
 21

 22
      TTY number or the text messaging system for Plaintiffs and other people that are

 23
      deaf or people with speech conditions. Plaintiff Club members have a speech

 24
      disability. Moreover, Plaintiff Club alleges that the Defendants did not modify their

 25
      websites to eliminate non-readable text to allow the blind and people with low vision

 26
      to use the screen reader software to access the information on the website, yet they

 27
      also failed to use large print on their websites. See Exhibit B to this Complaint.

 28

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  1
      Plaintiffs assert that most popular screen reader programs are called Jobs Access
  2
      With Speech or “JAWS” and Apple’s VoiceOver Software. Defendants actions
  3
      discriminate against Plaintiff Club, specifically Club members who have low vision
  4
      disabilities. Each of the Club members above cannot use the websites controlled by
  5
      the Defendants. Modifications to Defendants’ websites will not fundamentally alter
  6
      the rental services provided and will also not cause an undue burden to Defendants,
  7
      because the cost is less than One Thousand Dollars ($1,000).
  8
      15.   On November 06, 2022, and on a second subsequent date, Plaintiff Club
  9
      attempted to make a request to the Defendants for reasonable accommodation at the
 10
      property. On November 30, 2022, the named individual Plaintiff LEE and Plaintiff
 11
      Club emailed to the Defendants a written request for a reasonable accommodation.
 12
      In December, 2022, Plaintiff LEE and Plaintiff Club, mailed a written request for a
 13
      reasonable accommodation. Defendants failed to respond to both Plaintiffs requests
 14
      for reasonable accommodation as of the date of the filing of this Civil Complaint.
 15
      16.   Plaintiffs are not able to access Defendants rental services due to existing
 16
      overt and obvious communication and physical barriers to access Defendants’ rental
 17

 18
      services both at its online website and at the physical office. Due to the overt and

 19
      obvious physical barriers as alleged herein below, which are required to be removed,

 20
      Plaintiffs requested that Defendants accommodate them to provide access to

 21
      Defendants’ rental services.

 22
      17.   The named Plaintiffs allege that an accommodation is also obvious when a

 23
      whole group of the protected persons requires it. For example, when the public

 24
      without disabilities are required to get up to a second level, the public would be very

 25
      disturbed if they were required to request steps to go up to second level. When the

 26
      accommodation is specific to a particular person with a disability, then that person

 27
      may be required to make a request, because the accommodation is not obvious.

 28

                       7
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  1
      18.   Plaintiffs allege that they are not required to make a request for reasonable
  2
      accommodation and for auxiliary aids when the barriers to communication are overt
  3
      and obvious. However, in the present case, Plaintiffs did make such requests for
  4
      accommodation to eliminate overt and obvious barriers to its rental services
  5
      communications. Plaintiffs allege that providing effective contact information for
  6
      Defendants’ rental services on the internet is an obvious accommodation. The
  7
      general public does not need to request a contact number from the Defendant
  8
      apartment owner or operator when they desire to rent a place. Defendants provide the
  9
      contact number on their website. Therefore, Plaintiffs allege that Defendants are
 10
      required to provide the obvious accommodation of effective communication for
 11
      people that are deaf or with speech impediment on their website without a request.
 12
      Defendants must make their rental services accessible without the need for a prior
 13
      request. Furthermore, Defendants have a duty to remove architectural barriers and
 14
      communication barriers to their rental services without request.
 15
      19. Plaintiffs allege that there is disparate treatment on the internet related to the
 16
      amenities being offered to people without disabilities and people with disabilities.
 17
      All the below facts and the facts stated elsewhere herein have a disparate impact on
 18
      the disability community. The named Plaintiffs experienced and have knowledge of
 19
      the below facts that the Plaintiffs ascertained from Defendants’ websites. Defendant
 20
      operates an apartment property. The property is located at 7860 Valley View St,
 21

 22
      Buena Park, CA 90620. The property was built in 1972 and has 2 stories with 96

 23
      units. The rent is approximately: $2,300 - $2,670. The internet provides a wealth of

 24
      information regarding the property. The internet advertises that the property has

 25
      amenities that include: Unique Features: BBQ Area, Closet, Granite Throughout in

 26
      select units, Stainless Steel Appliances in select units, Two Playgrounds; Community

 27
      Amenities: Package Service, Laundry Facilities, Maintenance on site, Property

 28

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  1
      Manager on Site, Laundry Service, Clubhouse, Storage Space, Pool, Playground,
  2
      Basketball Court, Gated, Grill, Picnic Area; Apartment Features: High Speed
  3
      Internet Access, Air Conditioning, Heating, Ceiling Fans, Smoke Free, Cable Ready,
  4
      Storage Units, Dishwasher, Disposal, Granite Countertops, Stainless Steel
  5
      Appliances, Microwave, Range, Carpet, Balcony, Patio; Pet Policies: Cats Allowed:
  6
      Indoor, Pet deposit $200; Parking: Surface Lot: 1 space, Unassigned Parking;
  7
      Covered: 1 space, Assigned Parking; Application Fee $35. The property advertises
  8
      on trulia.com, rent.com, realtor.com, apartmentguide.com, apartmentfinder.com,
  9
      westsiderentals.com, zillow.com. It is very important to know that on trulia.com,
 10
      rent.com, apartmentguide.com, apartmentfinder.com, westsiderentals.com,
 11
      zillow.com there is the equal housing opportunity logo. The plaintiff alleges that
 12
      there is disparate treatment on the internet related to the amenities being offered to
 13
      people without disabilities and people with disabilities. For example, the tow signage
 14
      was not installed. The accessible parking space had an access aisle, which was not
 15
      van accessible. The aisle did not have the “no parking” included in the access aisle.
 16
      The office had a high threshold. There was no International Symbol of Accessibility.
 17
      The Internet does not state the accessible amenities at all. Also, the statement the
 18
      “equal housing opportunity statement” is misleading. In fact, the property is not
 19
      completely accessible. All the above facts and the facts stated herein have a disparate
 20
      impact on the disability community.
 21

 22
      20.   On Defendants’ websites, they allow the public without deafness and without

 23
      speech impairments to participate by providing them with a telephone number to

 24
      call. However, Plaintiff Club members that are deaf and or with speech impairments
 25   are denied equal access to participate because the Defendants do not have any
 26   effective communication.
 27   21.   Defendants provide websites for people without disabilities to benefit from the
 28

                       9
                                                                                  COMPLAINT
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   1
       rental services without going to the apartments to learn about the properties.
   2
       However, for people with disabilities that require the access to the facility, the
   3
       Defendants do not provide any information on the websites regarding if the office on
   4
       or off the site is accessible. Moreover, the Defendants provide the telephone number
   5
       for the public to call to inquire about the rental services without providing any
   6
       effective alternative communications for Plaintiffs and other people that are deaf or
   7
       have speech impairments.
   8
       22.   For people without disabilities, the Defendants provide all of the information
   9
       on their websites. For Plaintiffs with disabilities, Defendants require them to travel to
  10
       the Property to determine if it is accessible, then require them to request the effective
  11
       communication, and then thereafter to request a reasonable accommodation to the
  12
       overt and obvious communication barrier. Therefore, Defendants require Plaintiffs
  13
       and other people with disabilities to suffer a separate benefit.
  14
       23.   Additionally, the named Plaintiffs are alleging photograph discrimination
  15
       related to the physical access of each of the apartments within Exhibit B to this
  16
       complaint. The purpose of Defendants’ internet photographs is to entice perspective
  17

  18
       renters to apply online or to contact the Defendants to rent a place. Defendants’

  19
       internet photographs only entice people without mobility disabilities. Defendants’

  20
       internet photographs exclude any photographs of any accessible features that would

  21
       aid the Plaintiffs. For example, there is no photograph of accessible parking. There

  22
       are no photographs of the accessible route to the office on or off the site. There are

  23
       photographs of the accessible route to the manager's office. There are no photographs

  24
       related to the access to get into and use the rental or manager's office. There are no
  25   photographs related to the accessible route of the common area. There are no
  26   photographs of the accessible units. In fact, all the photographs lead a person with a
  27   mobility disability to believe that the apartments are not accessible, or that they must
  28

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   1
       have someone go to the properties to make sure it is accessible. However, people
   2
       without disabilities are not required to go to the Property to see if it is accessible.
   3
       24.   Defendants websites and Defendants’ rental services are not integrated for
   4
       people with disabilities as required. Plaintiffs are required to request an
   5
       accommodation. People without disabilities can access the websites and the rental
   6
       services without any problem, but Plaintiffs and other people with disabilities are
   7
       required to request for separate rental services. People with mobility conditions are
   8
       not integrated when using the websites because they must go to the apartments to
   9
       determine if they are accessible, but people without disabilities need only access
  10
       Defendants’ websites to determine they can use them. People that are blind and with
  11
       low vision disabilities must request help to read the website information because the
  12
       printed information is too small, but people without disabilities can access the
  13
       websites without asking for help. Plaintiffs and other people with deafness or people
  14
       with speech condition must ask for help calling the number on the websites, because
  15
       Defendants fail to provide a TTY number to contact, or Defendants fail to provide a
  16
       texting system. Defendants discriminated against the Plaintiffs.
  17
       25.   Plaintiff Club member went to Defendant’s apartment facilities at the Property
  18
       in November, 2022, and on a second subsequent date, to access the rental services.
  19
       The Named Individual Plaintiff has actual knowledge of Defendants’ overt and
  20
       obvious physical barriers, that relate to this Plaintiff’s disabilities, to Defendants’
  21
       Property on-site rental services that this Named Individual Plaintiff intended to visit
  22
       in November, 2022, and on a second subsequent date, but this Plaintiff was deterred
  23
       from accessing Defendant’s rental services located on the Property. Defendants
  24
       provide rental information, rental applications, and other rental services on-site at the
  25
       Property. Defendants’ agents confirmed to the Plaintiffs that rental information,
  26
       rental applications, and other rental services were available on-site at the Property.
  27

  28

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   1
       Defendants’ rental services at the Property are not accessible. Defendants’ path of
   2
       travel from the sidewalk to the rental services is not accessible since it has step
   3
       changes in level along the path. There is a step change in level that must be
   4
       traversed to access the main entrance to the complex. The main entrance door
   5
       leading into the complex fails to have the required smooth and uninterrupted surface
   6
       at the bottom of the door. The main entrance door leading into the complex is not
   7
       accessible due to a significant step change in level at the main entrance door
   8
       threshold that is not beveled or ramped. The operating hardware on the main
   9
       entrance door is a round knob. The operating hardware is also mounted too high to
  10
       be accessible. The pressure required to operate the main entrance door is excessive.
  11
       Defendants do not provide the required directional signage as to the designated path
  12
       of travel from the sidewalk to Defendant’s rental services. Defendant’s rental
  13
       services entrance is not accessible due to a significant step change in level at the
  14
       rental services door threshold that is not beveled or ramped. The Named Individual
  15
       Plaintiff has mobility disabilities and these step changes in level and the other stated
  16
       issues cause the path of travel and the rental services entry to be not accessible.
  17
       Defendants failed to provide any directional signage indicating an alternate
  18
       accessible path of travel to the rental services. Defendants failed to provide the
  19
       required fully compliant van accessible disabled parking for the rental services.
  20
       Defendants failed to provide a dimensionally compliant van accessible disabled
  21
       parking space and disabled parking access aisle, the required disabled parking
  22
       signage, including tow away signage, fine signage, ground markings, and failed to
  23
       locate said parking on a level surface and nearest the rental services. Defendants
  24
       also failed to provide compliant tow away signage. The Named Individual Plaintiff
  25
       requires the use of a compliant van accessible disabled parking space to safely exit
  26
       and re-enter the vehicle. Defendants’ failure to provide the required compliant
  27
       disabled parking, disabled parking access aisle, disabled parking disability signage,
  28

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   1
       access aisle, and disability ground markings, such that the Named Individual Plaintiff
   2
       is not able to safely park at Defendants’ establishment since the individual Plaintiff
   3
       may be precluded from exiting or re-entering the vehicle if the disabled parking and
   4
       disabled parking signage is not present and others park improperly. Additionally,
   5
       Defendants failed to provide the required accessible path of travel from the parking
   6
       area to the rental services since the existing path of travel has step changes in level.
   7
       Additionally, Defendants overt and obvious communication barriers were also
   8
       present at the rental services in November, 2022, and on a second subsequent date.
   9
       Defendants failed to provide any method of text communication with their rental
  10
       services and failed to publish any information as to how to initiate text
  11
       communication contact. The Named Individual Plaintiff had actual knowledge of
  12
       these barriers at Defendants’ Property that Plaintiff intended to visit, and the Named
  13
       Individual Plaintiff was deterred from accessing Defendants’ rental services at the
  14
       Property again in December, 2022. See Property photos in Exhibit B and Exhibit C.
  15
       26.   Plaintiff Club and the named Individual Plaintiff desire to make sure that
  16
       Defendants’ rental services at Defendants’ physical office location and Defendants’
  17
       websites are fully accessible to Plaintiff Club’s members, the named Individual
  18
       Plaintiff, and other people with disabilities. Plaintiff Club, its Club members, and the
  19
       named Individual Plaintiff all have actual knowledge of Defendants’ discriminatory
  20
       conditions, and they are currently deterred from attempting further access until the
  21
       barriers are removed. Plaintiff Club and the named Individual Plaintiff intend to
  22
       return to Defendants’ Property and Defendants websites at the end of this action to
  23
       obtain rental services, and to verify that the communication and architectural barriers
  24
       are removed. The named Plaintiffs’ intent to return is genuine. In this case, Plaintiff
  25
       Club has numerous members residing near Defendants Property. Plaintiff Club’s
  26
       members have actual knowledge of the discriminatory conditions as alleged herein
  27
       when the Plaintiff Club investigated the Property and the rental services and
  28

                        13
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   1
       determined that the Club members would not be able to use the rental services due to
   2
       the discriminatory conditions. Therefore, Plaintiff Club members were and are
   3
       deterred from visiting the properties. Plaintiff Members were not required to
   4
       actually visit the properties. See Civil Rights Education & Enforcement Center v.
   5
       Hospitality Properties Trust, 867 F.3d 1093 (9th Cir. 2017). However, a member of
   6
       Plaintiff Cub did visit and attempt to access Defendants’ rental services at
   7
       Defendants’ physical office at the Property. Plaintiff Club and the individual
   8
       Plaintiff have specific plans to visit at the conclusion of this case to obtain rental
   9
       information and to verify the Defendants ceased its discriminatory conduct by
  10
       removing communication and physical barriers to access to the rental services.
  11

  12
        DISCRIMINATORY PRACTICES IN HOUSING ACCOMMODATIONS –
  13
       FAIR HOUSING ACT CLAIMS
  14
       27.   FHA Standing:
  15
             Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
  16
       complaint, Defendants discriminated against Plaintiffs in violation of FHA sections §
  17
       3604(f)(1- 3) and 42 § 3604(c), as further detailed below. As a result, the present
  18
       named Plaintiffs suffered injury as a result of Defendants discriminatory actions, and
  19
       named Plaintiffs now pray for damages, injunctive relief, declaratory relief, and
  20
       other relief as hereinafter stated. The Federal Fair Housing Act applies to
  21
       Defendants’ apartment complex since it has more than 4 residential units. FHA
  22
       standing is substantially broader than standing under the ADA due to the critically
  23
       important need of adequate availability of housing for the disabled. A potential
  24
       plaintiff is not even required to have an interest in renting a particular property or
  25
       dwelling to have standing. Smith v. Pacific Properties and Development Corp, 358
  26
       F.3d 1097, 1099 (9th Cir 2004) [Testers have standing to bring Fair Housing Act
  27
       claims, Id 1099, 1104]. Under the Act, any person harmed by discrimination,
  28

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   1
       whether or not the target of the discrimination, can sue to recover for his or her own
   2
       injury. See Trafficante v. Metropolitan Life Ins. Co., 409 U.S. 205, 212, 93 S.Ct. 364,
   3
       34 L.Ed.2d 415 (1972). “This is true, for example, even where no housing has
   4
       actually been denied to persons protected under the Act.” San Pedro Hotel v City of
   5
       Los Angeles, 159 F.3d 470, 474-475 (9th Cir 1998). In the present case, the named
   6
       Plaintiffs alleged they suffered the injury of discriminatory conduct by Defendants,
   7
       and that the named Plaintiffs suffered monetary and other damages as a result. The
   8
       named Plaintiffs seek injunctive relief as well as damages, both of which are
   9
       available under 42 USC § 3613(c). Assuming arguendo in the present case, that
  10
       prospective injunctive relief was not available to Plaintiffs due to mootness or
  11
       otherwise, which Plaintiffs dispute; the named Plaintiffs are still permitted to recover
  12
       damages under their federal FHA claims. Harris v Itzakhi, 183 F.3d 1043, 1050 (9th
  13
       Cir 1999) [During the appeal in Harris case, the plaintiff therein moved Three
  14
       Thousand (3000) miles away and her injunctive claims became moot. However,
  15
       Plaintiff’s claim for damages survived and was not affected]. In the present case,
  16
       while Plaintiffs can satisfy the injunctive relief prudential standing requirements, the
  17
       above Ninth Circuit Harris court authority makes it clear that those prudential
  18
       standing requirements for injunctive relief are not applicable to Plaintiffs FHA
  19
       damage claims. Hence, in the present case, Plaintiffs damage claims survive even if
  20
       prospective injunctive relief is not available. The present Plaintiff Club has
  21
       organization standing separately on its own under the FHA. Additionally, under the
  22
       FHA, Plaintiff Club has associational standing to assert its Club member claims
  23
       since it only seeks injunctive and declaratory relief as to its Club members. Plaintiff
  24
       Club and the named Individual Plaintiff have standing with respect to the following
  25
       FHA claims.
  26
       ///
  27
       ///
  28

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   1
       CLAIM I: Discrimination In Violation of 42 § 3604(f)(1) - Failure To Have A
   2
       Policy For Receiving Prospective Tenant Accommodation Requests, Failure To
   3
       Train Staff, And Failure To Make The Policy Known To The Plaintiffs
   4
       28.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
   5
       complaint, the named Plaintiffs suffered discrimination by Defendants in violation of
   6
       this FHA section. This FHA statute states it is unlawful to discriminate in the sale or
   7
       rental, or to otherwise make unavailable or deny, a dwelling to any buyer or renter
   8
       because of a handicap of (A) that buyer or renter; (B) a person residing in or
   9
       intending to reside in that dwelling after it is so sold, rented, or made available; or…
  10
       §3604(f)(1) [emphasis added]. See Texas Dept. of Housing and Community Affairs
  11
       v Inclusive Communities Project, 135 S.Ct. 2507, 2519 (2015) [FHA statutory
  12
       scheme permits disparate impact claims, and those type of claims do not require
  13
       intent]. due to Defendants’ communication and architectural barriers, Defendants
  14
       discriminated against Plaintiffs by failing to have a policy, practice, or method for
  15
       Plaintiffs to make a reasonable accommodation request for equal access to their
  16
       rental services on their website or at their on-site office at the Property. Defendants
  17
       have an affirmative duty to have a policy, process to receive such accommodation
  18
       requests and to respond to said requests. See Giebeler v. M & B Associates, 343 F.3d
  19
       1143 (9th Cir. 2003). As a result, Defendant caused Plaintiffs to suffer disparate
  20
       impact discrimination.
  21

  22
       CLAIM II: Failure to Engage in Interactive Process In Violation Of The Fair
  23
       Housing Act And California Fair Employment And Housing Act
  24
       29.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
  25
       complaint, Plaintiffs suffered discrimination by Defendants in violation of FHA
  26
       section § 3604(f)(1) and § 3604(f)(2). Plaintiffs contend that Defendant failed to
  27

  28

                        16
                                                                                   COMPLAINT
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   1
       engage in a good-faith interactive process to determine and to implement effective
   2
       reasonable accommodations so that Plaintiffs could gain equal access Defendants’
   3
       rental services, to apply for a lease, or to allow Plaintiffs to access Defendants’
   4
       physical office on or off the site and apartments.
   5
       CLAIM III: Discrimination In Violation of 42 § 3604(f)(2)
   6
       30.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
   7
       complaint, the named Plaintiffs suffered discrimination by Defendants in violation of
   8
       this FHA section § 3604(f)(2). This FHA section states “it shall be unlawful to
   9
       discriminate against any person in the terms, conditions, or privileges of sale or
  10
       rental of a dwelling, or in the provision of services or facilities in connection with
  11
       such dwelling”. Plaintiffs more specific factual basis for this claim is set forth
  12
       above at ¶¶23-26 above. As previously stated, the named Individual Plaintiff was a
  13
       prospective renter and Plaintiff Club was also seeking rental housing on behalf of the
  14
       named Individual Plaintiff ¶¶8 – 26 above. In the instant case, Defendant’s office
  15
       located on the Property is a “facility” in connection with the rental of a dwelling and
  16
       the on-site rental services provided within the office fall within the FHA statute. In
  17
       the instant case, the named Plaintiffs both assert that Defendant’s failure to remove
  18
       communication and architectural barriers to permit access to Defendant’s on-site
  19
       rental services contained within the office is a separate, independent, actionable
  20
       violation of this FHA section § 3604(f)(2), even without reference to the ADA as a
  21
       predicate. Plaintiffs have alleged that Defendants’ Property has overt and obvious
  22
       physical barriers to access its rental services provided in its on-site office. See ¶¶25 -
  23
       26. The 9th Circuit Smith court stated that the mere observation of overt architectural
  24
       barriers is actionable. Smith at 1104 [“To read an additional standing requirement
  25
       into the statute beyond mere observation, however, ignores that many overtly
  26
       discriminatory conditions, for example, lack of a ramped entryway, prohibit a
  27
       disabled individual from forming the requisite intent or actual interest in renting or
  28

                        17
                                                                                   COMPLAINT
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   1
       buying for the very reason that architectural barriers prevent them from viewing the
   2
       whole property in the first instance” (emphasis in original)]. The Smith court found
   3
       Defendants liable under this FHA subsection even though that case did not involve
   4
       ADA Title III claims. However, Plaintiffs did not just allege that Plaintiff Club
   5
       observed Defendant’s overt architectural barriers, but Plaintiffs alleged that a
   6
       Plaintiff Club member experienced the barriers, that the named Individual Plaintiff
   7
       had actual knowledge of Defendants’ communication and architectural barriers and
   8
       Plaintiff LEE was deterred from obtaining equal access to Defendant’s office facility
   9
       and its rental services located therein. Defendants also discriminated against
  10
       Plaintiffs by failing to modify its practices and policies to provide access via other
  11
       methods of access to its rental services contained within the office on or off the site.
  12
       Defendant’s failure to remove the architectural and communication barriers to access
  13
       its facilities and the rental services located therein, or to provide an accommodation
  14
       to provide methods of alternate access to the office facility, providing rental services
  15
       constitutes the prohibited discrimination, separately and independently.
  16
       Additionally, Defendant’s conduct is also prohibited under ADA Title III and
  17
       constitutes a second, separate, independent source of discrimination against Plaintiffs
  18
       in violation of FHA § 3604(f)(2). Since Defendants discriminatory conduct involves
  19
       Defendants’ rental facilities and its rental services located therein, Plaintiffs assert
  20
       any discriminatory conduct found in violation of ADA Title III also constitutes
  21
       prohibited “discrimination” under FHA § 3604(f)(2).
  22
       CLAIM IV: Discrimination In Violation of 42 § 3604(f)(3)(A and B only)
  23
       31.   Plaintiffs do not make any claim against Defendants for a failure to “design
  24
       and construct” pursuant to § 3604(f)(3)(C). Based on the facts plead at ¶¶ 8 - 26
  25
       above and elsewhere herein this complaint, Plaintiffs suffered discrimination by
  26
       Defendants in violation of FHA sections § 3604(f)(3)(A, B) only. The FHA requires
  27
       that “….[f]or the purposes of this subsection, discrimination includes-- (B) a refusal
  28

                        18
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   1
       to make reasonable accommodations in rules, policies, practices, or services, when
   2
       such accommodations may be necessary to afford such person equal opportunity to
   3
       use and enjoy a dwelling...” 42 § 3604(f)(3)(B). See also Giebeler v. M & B
   4
       Associates, 343 F.3d 1143 (9th Cir 2003). Defendants improperly refused Plaintiffs’
   5
       repeated written and other requests for an accommodation to have equal access to its
   6
       rental services.
   7
       CLAIM V: Discrimination In Violation of 42 § 3604(c) As To NSA
   8
       32.   Based on information, belief, and the facts plead at ¶¶ 8 – 26 above and
   9
       elsewhere herein, Plaintiffs herein alleges that Defendants caused Plaintiffs to suffer
  10
       the injury of discrimination since Defendants violated 42 U.S.C. §§ 3604 (c) with
  11
       respect to its notices, statements, and advertisements (“NSA”). Plaintiffs allege that
  12
       Defendants discriminated against them when Defendants made, printed, or
  13
       published, or caused to be made printed, or published notices, statements, or
  14
       advertisements (“NSA”) that suggest to an ordinary reader a preference to attract
  15
       tenants without disabilities. Defendants' Internet advertising regarding its rental
  16
       services has an unlawful disparate impact on Plaintiffs.
  17

  18
       SECOND CAUSE OF ACTION : Violation of California Fair Housing Act
  19
       33.     Failure to Provide Obvious Reasonable Accommodation and Modification:
  20
       Based on information, belief and the facts stated above at ¶¶ 8 – 26 above and
  21
       elsewhere in this complaint, Plaintiffs allege that Defendants refused to make
  22
       reasonable accommodations in rules, policies, practices, or services in violation of
  23
       CA Government Code sections 12927 and 12955.2, when these accommodations
  24
       may be necessary to afford a disabled person equal opportunity to use and enjoy
  25

  26
       Defendants’ rental services. As stated in detail above, Defendants refused to make

  27
       reasonable accommodations with the instant Plaintiffs and discriminated against each

  28

                          19
                                                                                  COMPLAINT
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   1
       of them on the basis of disability.
   2

   3
       THIRD CAUSE OF ACTION AGAINST ALL DEFENDANTS- Claims Under
   4
       The Americans With Disabilities Act Of 1990
   5
       34.   ADA Standing:
   6
             ADA Title III does cover public and common use areas at housing
   7
       developments when these public areas are, by their nature, open to the general
   8
       public. An office providing rental services is open to the general public. (See U.S.
   9
       Department of Justice - ADA Title III Technical Assistance Section III-1.2000,
  10
       Illustration 3, office on or off the site covered). The parking and paths of travel to
  11
       the office on or off the site are also covered. See Section III–1.2000, ADA Title III
  12
       Technical Assistance Manual, http://www.ada.gov/taman3.html (“ILLUSTRATION
  13
       3: A private residential apartment complex contains a office on or off the site. The
  14
       office on or off the site is a place of public accommodation”). See Kalani v Castle
  15
       Village, LLC, 14 F.Supp.3d 1359, 1371 (E.D.Cal, 2014)[ citing Johnson v. Laura
  16
       Dawn Apartments, LLC, 2012 WL 33040 at *1 n. 1 (E.D.Cal.2012) (Hollows, M.J.)
  17
       (“[t]he leasing office of an apartment is a place of public accommodation.] . In the
  18
       present case, the named Plaintiffs have sufficiently alleged that Defendants have an
  19
       office at the Property that provides rental services. Following prior sister Circuit
  20
       Courts of Appeals decisions, our Ninth Circuit Court very recently held that an ADA
  21
       Plaintiff can be only a “tester” and have standing. See Civil Rights Education &
  22
       Enforcement Center v. Hospitality Properties Trust, 867 F.3d 1093 (9th Cir. 2017)
  23
       [the Ninth Circuit CREEC court held (1) ADA “tester” standing is valid and a
  24
       Plaintiff’s motivation for visit is “irrelevant”, and (2) an ADA “deterrent effect
  25
       doctrine” claim does not require a Plaintiff to have a personal encounter with the
  26
       barrier to equal access, only to have knowledge of the barrier] citing Havens Realty
  27
       Corp. v. Coleman, 455 U.S. 363, 372–74, 102 S.Ct. 1114 (1982); Smith v. Pacific
  28

                        20
                                                                                   COMPLAINT
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   1
       Properties and Development Corp, 358 F.3d 1097, 1102-1104 (9th Cir 2004);
   2
       Chapman v. Pier 1 Imports (U.S.) Inc., 631 F.3d 939 (9th Cir 2011, en banc);
   3
       Houston v. Marod Supermarkets, Inc., 733 F.3d 1323, 1335–37 (11th Cir. 2013);
   4
       Colo. Cross Disability Coal. v. Abercrombie & Fitch Co., 765 F.3d 1205, 1210–11
   5
       (10th Cir. 2014). In the present case, the named Plaintiffs each have ADA standing.
   6
       Plaintiffs have alleged that Defendants discriminated against Plaintiffs in violation of
   7
       ADA Title III statutes and regulations as detailed further in the ADA claims stated
   8
       below. As a result, the named Plaintiffs have each suffered injury and each seek
   9
       only injunctive and declaratory relief pursuant to their ADA Claims.
  10
       CLAIM I: Auxiliary Aids – Failure To Effectively Communicate
  11
       35.   42 United States Code 12182(b)(2)(iii) states, "a failure to take such steps as
  12
       may be necessary to ensure that no individual with a disability is excluded, denied
  13
       services, segregated or otherwise treated differently than other individuals because of
  14
       the absence of auxiliary aids and services, unless the entity can demonstrate that
  15
       taking such steps would fundamentally alter the nature of the good, service, facility,
  16
       privilege, advantage, or accommodation being offered or would result in an undue
  17
       burden;..." Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this
  18
       complaint, Plaintiffs are informed, believe, and thereon allege that Defendants
  19

  20
       violated said provision. Plaintiffs set forth the factual basis for this claim most

  21
       specifically at ¶¶ 13 -14, 16-24 above. The ADA “applies to the services of a place

  22
       of public accommodation, not services in a place of public accommodation. To limit

  23
       the ADA to discrimination in the provision of services occurring on the premises of a

  24   public accommodation would contradict the plain language of the statute.” Nat’l
  25   Fed’n of the Blind v. Target Corp., 452 F. Supp. 2d 946, 953 (N.D. Cal. 2006)
  26   (emphasis added) (citing Weyer v. Twentieth Century Fox Film Corp., 198 F.3d
  27   1104, 1115 (9th Cir. 2000) [holding that “whatever goods or services the place
  28

                        21
                                                                                    COMPLAINT
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   1
       provides, it cannot discriminate on the basis of disability in providing enjoyment of
   2
       those goods and services”]). An ADA plaintiff may challenge a business’ online
   3
       offerings as well. So long as there is a “nexus”—that is, “some connection between
   4
       the good or service complained of and an actual physical place”—a plaintiff may
   5
       challenge the digital offerings of an otherwise physical business. See Gorecki v.
   6
       Hobby Lobby Stores, Inc, 2017 WL 2957736, at *4 (C.D. Cal. June 15, 2017) [Case:
   7
       CV 17–1131–JFW (SKx)]. The ADA requires the Defendants to provide effective
   8
       communication to the instant Plaintiffs and to people with disabilities. In the
   9
       present case, Plaintiffs experienced and have knowledge that Defendants failed to
  10

  11
       have a required procedure to provide effective communication. Plaintiffs allege that

  12
       Defendants failed to train their staff on the way to use the auxiliary aids. Defendants

  13
       did not provide any auxiliary aid and the Defendants did not provide any reasonable

  14
       accommodation to the overt and obvious communication barriers, and failed to

  15   respond to Plaintiffs’ requests for accommodation. Plaintiffs are not demanding that
  16   Defendants provide a specific reasonable accommodation or a specific auxiliary aid.
  17   ADA law allows the Defendants to decide what auxiliary aid and reasonable
  18   accommodation will be provided. In this case, however, Defendants failed to
  19   provide any reasonable accommodation for the overt and obvious communication
  20   barriers to equal access to their rental services, failed to provide any auxiliary aid,
  21   and failed to provide any effective communication. Plaintiffs allege that Defendants’
  22   websites provide a contact number for the general public, but Defendants failed to
  23   provide Plaintiffs with the required effective communication using texting or other
  24   alternate means of communication for Plaintiffs and other people with a deaf
  25   condition or a speech condition. Defendants’ conduct discriminates against Plaintiff
  26   Club’s members that have hearing disabilities and Club’s members with speech
  27   disabilities. Defendants are required to provide, on Defendants’ websites, to provide
  28

                        22
                                                                                    COMPLAINT
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   1
       a method to effectively communicate with Plaintiff Club members that have hearing
   2
       and speech disabilities, and other people that are deaf or have speech impairments.
   3
       CLAIM II: Denial of Participation
   4
       36.   42 United States Code 12182(b)(1)(A)(i) states, "It shall be discriminatory to
   5
       subject an individual or class of individuals on the basis of a disability or disabilities
   6
       of such individual or class, directly, or through contractual, licensing, or other
   7
       arrangements, to a denial of the opportunity of the individual or class to participate in
   8
       or benefit from the goods, services, facilities, privileges, advantages, or
   9
       accommodations of an entity." Based on the facts plead at ¶¶ 8 - 26 above and
  10

  11
       elsewhere in this complaint, Plaintiffs are informed, believe, and thereon allege that

  12
       Defendants violated said provision. Plaintiffs set forth the factual basis for this claim

  13
       most specifically at ¶¶ 20-24 above. Defendants discriminated against Plaintiffs in

  14
       violation of 42 United States Code 12182(b)(1)(A)(i) and 42 U.S.C. § 12188.

  15   CLAIM III: Participation in Unequal Benefit
  16   37.   Defendants provide unequal benefit for people with disabilities in violation of
  17   42 United States Code 12182(b)(1)(A)(ii) and 42 U.S.C. § 12188. Based on the facts
  18   plead at ¶¶ 8 - 26 above and elsewhere in this complaint, Plaintiffs are informed,
  19   believe, and thereon allege that Defendants discriminated against Plaintiffs in
  20   violation of said provision. Plaintiffs set forth the factual basis for this claim most
  21   specifically at ¶¶ 20-24 above.
  22   CLAIM IV: Separate Benefit
  23   38.   Defendants’ photographs discriminate against Plaintiffs in violation of 42
  24   United States Code 12182(b)(2)(A)(iii) and 42 U.S.C. § 12188. Based on the facts
  25   plead at ¶¶ 8 - 26 above and elsewhere in this complaint, Plaintiffs are informed,
  26   believe, and thereon allege that Defendants discriminated against Plaintiffs in
  27   violation of said provision. Plaintiffs set forth the factual basis for this claim most
  28

                        23
                                                                                     COMPLAINT
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   1
       specifically at ¶¶ 20-24 above.
   2
       CLAIM V: Integrated Settings
   3
       39.   Defendants’ rental services are not integrated for Plaintiffs and people with
   4
       disabilities in violation of 42 United States Code 12182(b)(1)(B) and 42 U.S.C. §
   5
       12188. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
   6
       Plaintiffs are informed, believe, and thereon allege that Defendants discriminated
   7
       against Plaintiffs in violation of said provision. Plaintiffs set forth the factual basis
   8
       for this claim most specifically at ¶¶ 20-24 above.
   9
       CLAIM VI: Failure To Modify Practices, Policies And Procedures
  10
       40.   Defendants failed and refused to provide a reasonable alternative by
  11
       modifying its practices, policies, and procedures in that they failed to have a scheme,
  12
       plan, or design to accommodate Plaintiff Club, its Club members, the individual
  13
       named Plaintiff, and/or others similarly situated in utilizing Defendants' rental
  14
       services, at its websites and its office at the Property, in violation of 42 United States
  15
       Code 12182(b)(2)(A)(ii) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26
  16
       above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon
  17

  18
       allege that Defendants discriminated against Plaintiffs in violation of said provision.

  19
       Plaintiffs set forth the factual basis for this claim most specifically at ¶¶ 18-26 above.

  20
       CLAIM VII: Failure To Remove Architectural And Communication Barriers

  21
       41.   Plaintiffs allege that Defendants failed to remove architectural barrier and

  22
       communication barriers as required in violation of 42 United States Code

  23
       12182(b)(2)(A)(iv) and 42 U.S.C. § 12182. Based on the facts plead at ¶¶ 8 - 26

  24
       above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon

  25
       allege that Defendants discriminated against the named Individual Plaintiff in

  26
       violation of said provision. Plaintiffs set forth the factual basis for this claim most

  27
       specifically at ¶¶ 8,9,20-24,25,26 above. The named Individual Plaintiff personally

  28

                        24
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   1
       reviewed all the information and photographs of Defendants’ property. As a result,
   2
       the named Individual Plaintiff has actual knowledge of the physical and
   3
       communication barriers that exist at Defendants’ Property. The named Individual
   4
       Plaintiff determined that the physical barriers that exist at Defendants’ property,
   5
       directly relate to his disabilities, and make it impossible or extremely difficult for
   6
       him to physically access Defendants’ rental services at the Property. The named
   7
       Individual Plaintiff was deterred by his actual knowledge of the physical and
   8
       communication barriers that exist at Defendants’ Property which include but are not
   9
       limited to the barriers to facilities for disabled parking, exterior path of travel to the
  10
       office, the office entrance, and office interior, since said Defendants’ facilities were
  11
       not accessible because they failed to comply with the Federal ADA Accessibility
  12
       Guidelines (“ADAAG”) and California's Title 24 Building Code Requirements. See
  13
       ¶¶ 25 for details. The named Individual Plaintiff had actual knowledge of these
  14
       barriers and determined that it would be futile gesture for him to go to the Property
  15
       on the date that he had originally intended. The named Individual Plaintiff is
  16
       currently deterred from returning due to his knowledge of the barriers. At the end of
  17
       this action, the named Individual Plaintiff intends to return to Defendants’ physical
  18
       office on or off the site location to obtain rental information and verify that the
  19
       communication and physical barriers to Defendants’ rental services are removed.
  20
       Defendants failure to remove the barriers to equal access constitutes discrimination
  21
       against the named Individual Plaintiff.
  22
       CLAIM VIII: Failure To Make Alterations Readily Accessible And Usable
  23
       42.   Defendants are required to make alterations to their facilities in such a manner
  24
       that, to the maximum extent feasible, the altered portions of the facility are readily
  25
       accessible to and usable by individuals with disabilities, including individuals who
  26
       use devices pursuant to 42 U.S.C. §12183(a)(2). Based on the facts plead at ¶¶ 8 -
  27
       26 above and elsewhere in this complaint, the named Plaintiffs are informed, believe,
  28

                        25
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   1
       and thereon allege that Defendants violated this provision. Plaintiffs allege that
   2
       Defendants altered their facility in a manner that affects or could affect the usability
   3
       of the facility or a part of the facility after January 26, 1992. In performing the
   4
       alteration, Plaintiffs allege that Defendants failed to make the alteration in such a
   5
       manner that, to the maximum extent feasible, the altered portions of the facility are
   6
       readily accessible to and usable by individuals with disabilities, including individuals
   7
       who use devices, in violation of 42 U.S.C. §12183(a)(2).
   8
       CLAIM IX: Administrative Methods
   9
       43.   Plaintiffs are informed, believe, and thereon allege that Defendants contract
  10
       with website providers without making sure that the websites will be accessible to
  11
       people with disabilities in violation of 42 United States Code 12182(b)(1)(B) and 42
  12
       U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this
  13

  14
       complaint, Plaintiffs are informed, believe, and thereon allege that Defendants

  15
       discriminated against the named Individual Plaintiff in violation of said provision.

  16
       Plaintiffs set forth the factual basis for this claim most specifically at ¶¶18-26 above.

  17
       CLAIM X: Screen Out
  18
       44.   Plaintiffs are informed, believe, and thereon allege that Defendants screened

  19
       out Plaintiffs and other people with disabilities in violation of 42 United States Code

  20
       12182(b)(2)(A)(i) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26

  21
       above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon

  22
       allege that Defendants discriminated against the named Plaintiffs in violation of said
  23   provision. Plaintiffs set forth the factual basis for this claim most specifically at ¶¶ 8
  24   - 26 above. Defendants screened out the named Plaintiffs from its rental services and
  25   processes, because Defendants failed to remove architectural and communication
  26   barriers to its website and physical office, failed to provide required effective
  27   alternate communication methods, and failed to provide required auxiliary aids.
  28

                        26
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   1
       CLAIM XI: Denial Of Full And Equal Access
   2
       45.    Defendants are required to provide full and equal access to Defendants' rental
   3
       services, goods, facilities, privileges, advantages, or accommodations pursuant to 42
   4
       United States Code 12182(b) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶
   5
       8 - 26 above and elsewhere in this complaint, Plaintiffs are informed, believe, and
   6
       thereon allege that Defendants discriminated against the named Plaintiffs in violation
   7
       of said provision. Plaintiffs set forth the factual basis for this claim most specifically
   8
       at ¶¶ 8 - 26 above.
   9

  10
       CLAIM XII: Failure To Investigate And Maintain Accessible Features
  11
       46.    Defendants made repairs and administrative changes which violated ADA and
  12
       its regulations. See ADA Title III Regulations Sec.36.211 Maintenance of accessible
  13
       features. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
  14

  15
       Defendants failed to provide and then maintain any accessible features in its parking,

  16
       path of travel, office on or off the site services and website rental services. Plaintiffs

  17
       are informed, believe, and thereon allege that Defendants discriminated against the

  18
       named Plaintiffs in violation of this provision.

  19   CLAIM XIII: Association
  20
       47.    Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
  21
       Plaintiffs are informed, believe, and thereon allege that Defendants discriminated
  22
       against the named Plaintiffs in violation of 42 U.S.C. § 12182(b)(1)(E)
  23

  24         DISCRIMINATORY PRACTICES IN PUBLIC ACCOMMODATIONS
  25          FOURTH CAUSE OF ACTION: ONLY THE INDIVIDUALL NAMED
  26   PLAINTIFF AGAINST ALL DEFENDANTS - CLAIMS UNDER CALIFORNIA
  27                                 ACCESSIBILITY LAWS
  28

                        27
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   1
       CLAIM I: Denial Of Full And Equal Access
   2
       48. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint, the
   3
       named Individual Plaintiff was denied full and equal access to Defendants' goods.
   4
       services, facilities, privileges, advantages, or accommodations within a public
   5
       accommodation owned, leased, and/or operated by Defendants as required by Civil
   6
       Code Sections 54, 54.1, and specifically 54.1(d). The factual basis for this claim is at
   7
       18-28 above.
   8
       CLAIM II: Failure To Modify Practices, Policies And Procedures
   9
       49.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
  10
       the named Individual Plaintiff was denied full and equal access to Defendants' goods.
  11
       Defendants failed and refused to provide a reasonable alternative by modifying its
  12
       practices, policies, and procedures in that they failed to have a scheme, plan, or
  13
       design to assist Plaintiff Members and/or others similarly situated in entering and
  14
       utilizing Defendants' services as required by Civil Code § 54.1. The factual basis for
  15
       this claim is at 18-28 above.
  16
       CLAIM III: Violation Of The Unruh Act
  17
       50.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
  18
       the individual, the named Individual Plaintiff was denied full and equal access to
  19
       Defendants' goods. Defendants violated the CA Civil Code § 51 by specifically
  20
       failing to comply with Civil Code §51(f). Defendants' facility violated state
  21
       disability laws, the ANSI Standards, A117, and California's Title 24 Accessible
  22
       Building Code by failing to provide equal access to Defendants’ facilities.
  23
       Defendants did and continue to discriminate against Plaintiff Members in violation
  24
       of Civil Code §§ 51(f), and 52. The factual basis for this claim is at 18-28 above.
  25
                  Treble Damages Pursuant To California Accessibility Laws
  26
       51.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
  27
       only the named Individual Plaintiff prays for an award of treble damages against
  28

                        28
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   1
       Defendants, and each of them, pursuant to California Civil Code sections 52(a) and
   2
       54.3(a). Defendants, each of them respectively, at times prior to and including the
   3
       day the named Individual Plaintiff attempted patronized Defendants’ facilities and
   4
       rental services, and continuing to the present time, knew that persons with physical
   5
       disabilities were denied their rights of equal access. Despite such knowledge,
   6
       Defendants, and each of them, failed and refused to take steps to comply with the
   7
       applicable access statutes; and despite knowledge of the resulting problems and
   8
       denial of civil rights thereby suffered by the named Individual Plaintiff. Defendants,
   9
       and each of them, have failed and refused to take action to grant full and equal access
  10
       to the individual Plaintiff in the respects complained of hereinabove. Defendants,
  11
       and each of them, have carried out a course of conduct of refusing to respond to, or
  12
       correct complaints about, denial of disabled access and have refused to comply with
  13
       their legal obligations to make Defendants’ public accommodation facilities and
  14
       rental services accessible pursuant to the ADAAG and Title 24 of the California
  15
       Code of Regulations (also known as the California Building Code). Such actions
  16
       and continuing course of conduct by Defendants in conscious disregard of the rights
  17
       and/or safety of the named Individual Plaintiff justify an award of treble damages
  18
       pursuant to sections 52(a) and 54.3(a) of the California Civil Code.
  19

  20
                         DEMAND FOR JUDGMENT FOR RELIEF:
  21
       A.    All named Plaintiffs seeks injunctive relief pursuant to 42 U.S.C. 3613(c) and
  22
       42 U.S.C. § 12188(a). Only the named Individual Plaintiff seeks injunctive relief
  23
       pursuant to CA Civil Code §52. Pursuant to 42 U.S.C. 3613(c), all Plaintiffs request
  24
       this court to enjoin Defendants to cease their discriminatory practices in housing
  25
       rental services, rental housing management services, and for Defendants to
  26
       implement written policies and methods to respond to reasonable accommodation
  27
       and reasonable modification requests. Pursuant to 42 U.S.C. § 12188(a), Plaintiffs
  28

                       29
                                                                                 COMPLAINT
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   1
       request this Court enjoin Defendants to remove all barriers to equal access to the
   2
       disabled Plaintiffs in, at, or on their facilities, including but not limited to
   3
       architectural and communicative barriers in the provision of Defendants’ rental
   4
       services. Plaintiffs do not seek injunctive relief pursuant to Cal. Civil Code §55 and
   5
       Plaintiffs do not seek attorneys’ fees pursuant to Cal. Civil Code §55. Plaintiffs do
   6
       not seek any relief at all pursuant to Cal. Civil Code §55.
   7
       B.     All named Plaintiffs seek actual damages pursuant to 42 U.S.C. 3613(c).
   8
       However, Plaintiff Club only seeks damages for itself. Plaintiff Club does not seek
   9
       damages on behalf of its members;
  10
       C. Only the named Individual Plaintiff seeks recovery of actual damages pursuant
  11
       to Cal. Civil Code §§ 52 or 54.3;
  12
       D.     Only the named Individual Plaintiff seeks $4,000 in minimum statutory
  13
       damages pursuant to Cal. Civil Code § 52 for each and every offense of Civil Code §
  14
       51, pursuant to Munson v. Del Taco, (June 2009) 46 Cal. 4th 661;
  15
       E.     In the alternative to the damages pursuant to Cal. Civil Code § 52 in Paragraph
  16
       C above, only the named individual Plaintiff seeks $1,000 in minimum statutory
  17
       damages pursuant to Cal. Civil Code § 54.3 for each and every offense of Civil Code
  18
       § 54.1;
  19
       F.     All named Plaintiffs seek attorneys' fees pursuant to 42 U.S.C. 3613(c)(2), 42
  20
       U.S.C. § 12205, and Cal. Civil Code §§ 52, 54.3;
  21
       G.     Only the named individual Plaintiff seeks treble damages pursuant to Cal.
  22
       Civil Code §§ 52(a) or 54.3(a);
  23
       H.     The named Plaintiffs are seeking perspective injunctive relief to require the
  24
       Defendants to provide obvious reasonable accommodations, to provide the required
  25
       auxiliary aids and to modify Defendants’ procedures, practices, and policies of the
  26
       Defendants in the provision of Defendants’ rental services. Without perspective
  27
       relief the Plaintiffs will suffer future harm.
  28

                         30
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   1
       I.    All named Plaintiffs seek a Jury Trial and;
   2
       J.    For such other further relief as the court deems proper.
   3

   4   Respectfully submitted:
   5
                                                    LIGHTNING LAW, APC
   6
       Dated: December 9, 2022
   7
                                             By:    /s/David C. Wakefield
   8                                                DAVID C. WAKEFIELD, ESQ.
   9
                                                    Attorney for Plaintiffs

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